 

Case 1:22-cv-00339-SPB Document 67 Filed 11/09/22 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNYSLVANIA STATE CONFERENCE
OF THE NAACP, et al,

Plaintiffs, Civil Action No. 1:22-CV-339

LEIGH CHAPMAN,
Acting Secretary of the Commonwealth, et al,

)
)
)
)
Vv. )
)
)
)
Defendants. )

)

BETTY EAKIN, et al,
Plaintiffs,

Civil Action No. 1:22-CV-340
Vv.

ADAMS COUNTY BOARD OF
ELECTIONS, et al,
Defendants.

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ORDER

AND NOW, this a day of November 2022;

IT IS HEREBY ORDERED that responsive pleadings are due in accordance with the
requirements of Federal Rule of Civil Procedure 12.

IT IS FURTHER ORDERED that opposition to the motion to intervene shall be due by
close of business November 10, 2022 and any reply thereto shall be due by noon on November

11, 2022.

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“SUSAN PARADISE BAXTER ee
United States District Judge

 

 
